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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                 NO. 4:04CR00291-15 JLH

BRANDON LAMAR WHITE                                                               DEFENDANT

                                            ORDER

       Court convened on this date for a hearing on the government’s motion and supplemental

motions to revoke defendant’s supervised release. Documents #811, #817, and #819. United States

Attorney Jane Duke was present for the government. The defendant appeared in person with his

attorney, Assistant Federal Public Defender Chris Tarver. United States Probation Officer Robert

Gwin was also present.

       Upon inquiry from the Court, the defendant admitted all of the allegations contained in the

motions, except those pertaining to the theft of property. Following witness testimony, the Court

determined that there was insufficient evidence to prove that the allegations regarding theft of

property occurred. The Court found that the motions to revoke should be denied, and instead

determined that defendant’s present conditions of supervised release should be modified.

       IT IS THEREFORE ORDERED that the defendant’s conditions of supervised release are

hereby modified to include the following:

       •      The defendant must participate in and successfully complete an in-patient substance
              abuse treatment program as directed by the United States Probation Office for a
              period of time to be determined.

       •      Upon successful completion of the substance abuse treatment program, defendant
              will enter a chemical-free living program for a period of time as directed by the
              United States Probation Office.

       •      The defendant must participate in mental health counseling under the guidance and
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               supervision of the U.S. Probation Office, including a psychological evaluation and
               medicine regimen if deemed necessary by the probation officer.

       In the event the defendant is found to be in violation of his conditions of supervised release,

or is terminated from either the in-patient substance abuse treatment program or the chemical-free

living program, the government is directed to submit the appropriate motion and the Court will

conduct a hearing.

       IT IS FURTHER ORDERED that defendant be released from the custody of the United

States Marshal.

       All other conditions of supervised release remain in full force and effect as previously

imposed.

       IT IS SO ORDERED this 28th day of October, 2009.




                                                      ___________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
